     Case:13-09987-MCF13 Doc#:47 Filed:12/20/17 Entered:12/20/17 14:55:38     Desc: Main
                                Document Page 1 of 1



 1                         IN THE UNITED STATES BANKRUPTCY COURT FOR
                                  THE DISTRICT OF PUERTO RICO
 2

 3     IN RE:

 4                                              CASE NO. 13-09987 MCF

       MARCOS IGNACIO MARQUEZ HERNANDEZ         Chapter 13
 5
       MARGARITA     ABREU GONZALEZ
 6

 7
       XXX-XX-1565
 8
       XXX-XX-9979
 9
                                                     FILED & ENTERED ON 12/20/2017
10
                        Debtor(s)
11

12                                           ORDER
13          The Motion on Non Delivery of Tax Refunds filed by Trustee (docket #45) is
14    hereby granted.
15
            IT IS SO ORDERED.
16
            San Juan, Puerto Rico, this 20th day of December, 2017.
17

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19                                                         Mildred Caban Flores
                                                          U.S. Bankruptcy Judge
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